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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                 NORTHERN DIVISION

 In the Matter of the Petition

 of

 GRACE OCEAN PRIVATE LIMITED, as
 Owner of the M/V DALI,                               Docket No. JKB 24-cv-941

 and

 SYNERGY MARINE PTE LTD, as
 MANAGER of the M/V DALI,

 For Exoneration from or Limitation of
 Liability.

      CLAIMS FOR WRONGFUL DEATH, SURVIVAL, AND PUNITIVE DAMAGES

       Claimants respectfully submit these claims arising from the death of Maynor Yasir Suazo

Sandoval on March 26, 2024, in the collapse of the Francis Scott Key Bridge.

       Claimants are: Jeffrey D. Katz, as personal representative of The Estate of Maynor Suazo

Sandoval; Bertalia Verenice Martinez Funez, surviving wife of Maynor Yasir Suazo Sandoval;

Bertalia Verenice Martinez Funez as next friend of Alexa Michelle Suazo Martinez, surviving

minor daughter of Maynor Yasir Suazo Sandoval; David Yasir Suazo Posadas, surviving son of

Maynor Yasir Suazo Sandoval; and Rosa Emerita Sandoval Paz, surviving mother of Maynor

Yasir Suazo Sandoval.

       Claimants reserve all rights to proceed at law under 28 U.S.C. § 1333(1) on all claims and

issues, against Petitioners and any other party, in a forum of their choice.

                                 PRELIMINARY STATEMENT

       1.      On March 26, 2024, Petitioners killed six people and severely injured two others

when they recklessly crashed an unseaworthy cargo vessel into the Francis Scott Key Bridge. Six

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days after the disaster that they caused, before all of the dead were even recovered, Petitioners

invoked the jurisdiction of this Court, asserting that they owe nothing for the lives they destroyed.

Claimants, surviving family members of Decedent Maynor Yasir Suazo Sandoval and the Personal

Representative of his estate, now bring these claims to hold Petitioners accountable and to ensure

an avoidable tragedy like the Key Bridge disaster never happens again.

       2.      Maynor Yasir Suazo Sandoval was a loving husband, father, and son whose

presence made a lasting impact on his family, friends, and community. Maynor immigrated to the

United States and achieved the American Dream for him and his family, but never forgot where

he came from. Maynor lived a life deeply rooted in faith, love, and service to others. While working

arduous jobs in the United States, Maynor helped disadvantaged residents of his hometown of

Azacualpa, Honduras by paying for their doctor’s visits, paying for their medications, and

sponsoring a youth soccer league. In addition to being missed by his family, Maynor will be missed

for his good works.

       3.      Maynor met Bertalia Verenice Martinez Funez in 2013. After 5 years together,

Bertalia and Maynor were blessed with their daughter, Alexa Michelle Suazo Martinez. Bertalia

and Maynor married July 19, 2019. Bertalia and Alexa now can only cherish the memories they

made with Maynor and tragically live with a constant void.

                                            PARTIES

       4.      Claimant Jeffrey D. Katz is a Maryland citizen and the duly appointed personal

representative of the Estate of Maynor Yasir Suazo Sandoval. Letters of Administration were

issued by the Register of Wills for Baltimore County on July 29, 2024. Jeffrey D. Katz, as personal

representative of the Estate of Maynor Yasir Suazo Sandoval, brings the foregoing claims on




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behalf of the Estate of Maynor Yasir Suazo Sandoval and all wrongful death beneficiaries and

claimants.

       5.      Bertalia Verenice Martinez Funez is the surviving wife of Decedent and a Republic

of Honduras citizen.

       6.      Alexa Michelle Suazo Martinez, a minor, is the surviving daughter of Decedent and

a United States citizen. Bertalia Verenice Martinez Funez appears as next friend for Alexa

Michelle Suazo Martinez.

       7.      David Yasir Suazo Posadas is the surviving son of Decedent and a Republic of

Honduras citizen.

       8.      Rosa Emerita Sandoval Paz is the surviving mother of Decedent and a Republic of

Honduras citizen.

       9.      Petitioner Grace Ocean Private Ltd. is a Singapore-based corporation and the

registered owner of the Dali. On information and belief, Grace Ocean Private Ltd. conducted

vessel and crew management, training and selection onboard the Dali, as well as assessments,

operations, and maintenance on the vessel and its equipment, including its electrical and propulsion

systems. All crewmembers on board the Dali were answerable to Petitioner Grace Ocean Private

Ltd.

       10.     Petitioner Synergy Marine PTE LTD is a Singapore-based corporation. Synergy

Marine PTE LTD conducted technical and crew management, training and selection on board the

Dali, as well as assessments, risk analysis, operations, and maintenance on the vessel and its

equipment, including its electrical and propulsion systems.

                                JURISDICTION AND VENUE




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        11.      This Court has maritime jurisdiction because Claimants’ claims arise from a cargo

vessel allision upon the Patapsco River, navigable waters of the United States and Decedent

Maynor Yasir Suazo Sandoval was injured within those waters. In addition, or alternatively, there

is subject matter jurisdiction under the Admiralty Extension Act, 46 U.S.C. § 30101 in that a vessel

on navigable waters caused injuries to Claimants on land.

        12.      Petitioners have consented to the jurisdiction of this Court in filing the pending

Limitation Action and negligently and recklessly committing acts and omissions in Maryland that

caused catastrophic injuries to citizens of this state in Maryland.

        13.      Venue is proper because the incident giving rise to Claimants’ claims occurred in

this district.

                                              FACTS

        14.      In the early morning hours of March 26, 2024, the Dali, a containership, was

departing Baltimore for Sri Lanka when the vessel lost electrical power and struck the Francis

Scott Key Bridge.

        15.      At the time of the allision, the Dali was a seagoing vessel at the beginning of its

voyage under 46 U.S.C. § 30524. The Master of the Dali committed numerous reckless and

negligent acts prior to the disaster, each of which is imputable upon Petitioners as a matter of law.

                                   The Dali’s Electrical System

        16.      A substantial portion of the Dali’s improper acts involved reckless and negligent

operation of the Dali’s electrical generating and distribution system.

        17.      The Dali generates electrical power using four main diesel generators (Diesel

Generators 1, 2, 3, and 4) and one emergency backup diesel generator. These generators create

high voltage electricity (6,600 Volts) that is distributed from the vessel’s High Voltage Bus.



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       18.     The High Voltage Bus is the Primary electrical source supplying two identical

transformers: Transformer 1 and Transformer 2. Transformer 1 and Transformer 2 are “step down

transformers” that convert high voltage electricity energy to low voltage electricity (440 Volts),

which is then distributed ship wide via a Low Voltage Bus, which is the Secondary side of the

transformer.

       19.     Both high and low voltage electricity is required to power critical components on

the Dali, such as the main propulsion engine lubricating oil pumps and the main engine cooling

pumps. These pumps run on high and low voltage, respectively. If they are denied electrical power,

the main propulsion engine is designed to shut down to prevent damage to its components.

       20.     On either side (Primary side and Secondary side) of the Dali’s Transformer 1 are

two circuit breakers: High Voltage Breaker 1 and Low Voltage Breaker 1, respectively. Similarly,

on either side (Primary side and Secondary side) of Transformer 2, there are two circuit breakers:

High Voltage Breaker 2 and Low Voltage Breaker 2, respectively.

       21.     The purpose of these breakers is to interrupt electrical pathways when the current

(amperage) passing through the breaker is above the circuit breaker’s designed limit. These circuit

breakers “trip” when an over current condition is sensed to protect the ship’s wiring from

overheating.

       22.     A low voltage condition will also cause High Voltage Breaker 1 or 2 or Low

Voltage Breaker 1 or 2 to also “trip,” preventing equipment damage. A low voltage condition can

damage equipment requiring a constant, steady source of electrical energy for proper operation.

To prevent such damage, voltage sensing devices are integrated into the Dali’s distribution system.

       23.     Transformers 1 and 2 on the Dali are redundant, meaning only one transformer

needs to be online to power the vessel. The Dali’s Integrated Control Management System



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(“ICMS”) can be configured so that one transformer comes online automatically if the other ceases

operation for whatever cause. The system can also be operated in manual mode, as it was on the

date of the disaster, which requires a crewmember to engage the controls to energize the offline

transformer.

                                 Power Loss Prior to Departure

       24.     Just hours prior to departure, the Dali suffered a complete electrical blackout. At

that time, the vessel was running solely on Transformer 2 and was powered by Diesel Generator

2.

       25.     The blackout allegedly occurred after a Dali crewmember improperly closed an

inline engine exhaust damper in the diesel engine driving Diesel Generator 2. This prevented the

venting of exhaust gases, which, when detected, resulted in the automatic shutdown of the engine

and Diesel Generator 2.

       26.     When the engine shutdown was detected, High Voltage Breaker 2 and Low Voltage

Breaker 2 opened or “tripped” automatically. The opening of the breakers interrupted the flow of

electrical current in the vessel’s electrical system as designed, causing the blackout. Diesel

Generator 3 then came online and re-supplied power to the High Voltage Bus, making up for Diesel

Generator 2’s absence.

       27.     In response to the blackout, Dali’s crewmembers closed High Voltage Breaker 2

and Low Voltage Breaker 2. This restored electrical power to the ship’s electrical distribution

system and the generating source was now Diesel Generator 3.

       28.     Shortly thereafter, however, Diesel Generator No. 3 experienced a loss of fuel

pressure and, as a result, its breaker opened. This caused a second blackout due to the ensuing loss

of electrical power to the High Voltage Bus and, then, loss of the ship’s electrical power.



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       29.     On information and belief, Diesel Generator 3 came offline because a defective

pneumatic pump did not provide the generator with sufficient fuel. Notably, the Dali’s original

fuel oil system was re-designed by Petitioners in approximately 2020. That re-design included the

installation of a “flushing” pump to provide fuel to the Diesel Generators. The flushing pump,

however, was not manufactured to be a primary fuel source for a diesel generator. As a result, it

lacked important safety features, such as the ability to automatically re-start after a power failure.

As a back-up to the flushing pump, Petitioners also installed the pneumatic pumps, which could

only provide intermittent fuel to the generators.

       30.      In re-engineering their fuel oil system in this fashion, Petitioners intentionally

removed vital redundancies from their vessel’s electrical and propulsion systems for the purpose

of saving money.

       31.     During Dali’s pre-departure blackout, the crew allegedly realized that Diesel

Generator 2’s exhaust damper was closed. When the crew opened the damper, Diesel Generator 2

came online again, providing the needed power to the High Voltage and Low Voltage busses.

       32.     The Dali never notified the Coast Guard of the two vessel-wide blackouts, in

violation of applicable regulations, including 46 C.F.R. § 4.05-1. What is more, in an improper

response to the power losses, the Dali switched the vessel’s operative transformer from

Transformer 2 to Transformer 1 prior to departing.

       33.     Transformer 1 had not been used for several months and, in fact, was known by the

Dali to be damaged. Intentional reliance on a damaged and sparsely used transformer was not only

a clear breach of industry standards but incredibly dangerous.

                   The Dali’s Well-Documented Issues with Vessel Vibration




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       34.      The Dali had a well-recorded history of severe and dangerous vessel vibration

issues, which directly affected its electrical system and rendered the vessel blatantly unseaworthy.

These defects were known to Petitioners before departure for Sri Lanka and they departed anyway.

Petitioners’ reckless decision to leave berth in the face of these dangerous deficiencies was

motivated by profit.

       35.      Post-incident inspections of the vessel revealed extensive evidence of damage to

the vessel caused by excessive vibration and haphazard methods to try and contain it. The vessel’s

electrical transformers were crudely secured using steel braces, which themselves were damaged

by vibration. Written notations regarding vibration were observed in the vessel’s bow thruster

room and within its vessel logs and records. Loose cable wires and hardware was observed within

the vessel’s transformers and switchboards. Finally, and most glaringly, Transformer 1 was

secured against vibration with an ad-hoc “jury-rigged” contraption made up of a spare cargo chain

turnbuckle.

       36.      Despite these open and obvious dangerous conditions, some of which Petitioners

intentionally created, Petitioners sailed their enormous vessel directly towards a major bridge on

Transformer 1, in wanton and reckless disregard for the safety of others. Petitioners reckless

decision would soon kill six people and severely injure two others.

                                     The Key Bridge Disaster

       37.      The Dali initially departed with the aid of a senior pilot and apprentice pilot with

the Association of Maryland Pilots. A pilot’s role is to assist with the navigation of the vessel in

local waters.

       38.      During the master/pilot exchange, the Master knowingly and falsely ensured the

assisting pilots that all equipment was in “good working order” and recklessly failed to inform the



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pilots about the system-wide electrical failures and vibration issues plaguing the Dali. This was a

violation of applicable regulations, including 33 C.F.R. § 1641.11(k).

        39.      Additionally, the Master never reported to the pilot that any issues were affecting

the vessel’s bow thruster prior to the voyage. Yet, in the course of the subsequent failure, when

the pilot called for use of the bow thruster to prevent the allision, the Master reported that it was

“unavailable.”

        40.      As it departed, the Dali was initially aided by two tugboats. As the vessel entered

the Fort McHenry channel, however, the tugboats were ordered to return to port. This occurred

even though the Master knew that the Dali was prone to a sudden, complete electrical failures that

would prevent adequate steering of the enormous vessel.

        41.      Given this knowledge, the Dali’s Master should have requested tugs through the

bridge’s main span. At the very least, he should have slowed the vessel and stationed crewmembers

at the anchor winch, a standard industry practice. This would have allowed for rapid dropping of

the anchor and slowing of the vessel in the event of another power failure. None of these basic

precautions were taken by the Dali, indicating Petitioners had insufficient safety management

procedures and risk assessments.

        42.      As the unaided vessel came within a half mile from the Key Bridge, the Dali, just

as it had before the departure, lost all electrical power.

        43.      The power loss occurred after High Voltage Breaker 1 and Low Voltage Braker 1

“tripped,” preventing primary power to Transformer 1 and therefore de-powering the secondary

440 Volt system. Defects in the Dali’s electrical system (e.g., loose cable wires or defective coils)

caused the opening “tripping” of High Voltage Breaker 1 and Low Voltage Breaker 1. On




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information and belief, these defects were known to Petitioners, their agents, employees,

superintendents and crew, including the Master of the vessel prior to the beginning of the voyage.

         44.   The resulting loss of electrical power to critical engine equipment resulted in the

automatic shutdown of the main engine, and the loss of the vessel’s propulsion system and steering

system. The steering system was partially restored (at a lower speed of rudder control) after the

emergency backup diesel started to supply limited electrical power to selected systems.

         45.   At this time, if the vessel’s ICMS was in “automatic mode,” then Low Voltage

Circuit Breaker 2 and High Voltage Circuit breaker 2 would have both closed, resulting in

Transformer 2 coming online and restoring power to the entire vessel in about ten seconds,

avoiding an extended blackout.

         46.   The Dali negligently and recklessly failed to utilize “automatic mode” at the outset

of the voyage. Instead, the Dali used “manual” mode, which required a crewmember to switch

transformers manually.

         47.   Since the transformer control switch was in manual mode, the Dali should have

manually switched to Transformer 2 immediately after the failure. They failed to do so, again

indicating deficient safety management systems and procedures.

         48.   Instead of switching transformers, Dali’s crew simply closed High Voltage Breaker

1 and Low Voltage Breaker 1, and crossed their fingers, hoping another failure would not happen

again.

         49.   As during the pre-departure blackout, closing the tripped breakers did initially

restore power to the Dali. But, as before, a second blackout occurred soon after.

         50.   When the vessel was just .2 miles from the bridge, the breakers connecting the

vessel’s online diesel generators (Diesel Generator 3 and Diesel Generator 4) to the High Voltage



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Bus opened and disconnected. This occurred because the vessel’s flushing pumps were turned off

and the back-up defective pneumatic pump could not generate sufficient fuel to supply the running

generators.

          51.    The tripping of the generator breakers eliminated power again to both the High

Voltage Bus and Low Voltage Bus, causing the second blackout and loss of the enormous vessel’s

propulsion and steering systems.

          52.    In response, the crew manually closed High Voltage Breaker 2 and Low Voltage

Breaker 2, something that should have occurred automatically within seconds of the initial power

loss. This re-introduced power to the High Voltage bus, finally allowing Transformer 2 to come

online.

          53.    The manual transition to Transformer 2 was too little, too late. While power was

regained, there was insufficient time for the vessel to regain main engine propulsion and full

steering rudder control. In addition, there is no indication that the vessel’s emergency generator

provided emergency power after the first blackout, as required by the Safety of Life at Sea (“SO-

LAS”) Convention. This is further evidence of the unseaworthiness of the vessel.

          54.    While the port anchor was belatedly released, it was lowered too late to prevent the

disaster because the Dali was not prepared for a foreseeable emergency. The pilot’s last-ditch,

desperate calls for the bow thruster were met only with a report from the Master that it was

“unavailable.”

          55.    Shortly thereafter, the vessel struck the Key Bridge. After the impact, the ground

fell from underneath Maynor Yasir Suazo Sandoval and he fell with the bridge into the Patapsco

river, suffering extreme fright, pain, suffering, and, ultimately, death.

                              COUNT ONE: WRONGFUL DEATH,



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                       AS AGAINST GRACE OCEAN PRIVATE LTD

       56.     Claimants incorporate the foregoing paragraphs.

       57.     At all relevant times, as the registered owner of the Dali, Petitioner Grace Ocean

Private Ltd owed Claimants a duty to ensure that the voyage on March 26, 2024, was adequately

planned and executed, that the Dali was seaworthy and appropriately equipped for the voyage, that

all on board the Dali had sufficient training, equipment and provisions to complete the voyage

successfully and that the vessel had appropriate safety management systems and risk assessments

to avoid injury to others.

       58.     Petitioner Grace Ocean Private Ltd breached these duties in that, Petitioner, its

agents and employees, including the Master, crew members, agents, superintendents and

executives:

               a. Conducted a voyage with an unseaworthy vessel;

               b. Failed to navigate the vessel properly;

               c. Knowingly departed with a defective electrical system;

               d. Failed to properly operate the vessel’s electrical system;

               e. Failed to properly troubleshoot and diagnose defects with the electrical system;

               f. Failed to utilize tug vessels through the Key Bridge’s main span;

               g. Failed to slow the vessel as it approached the Key Bridge;

               h. Failed to station crew at the anchor winch during departure;

               i. Failed to divert Dali’s route of travel when its engine lost power;

               j. Failed to equip Dali with appropriate equipment to ensure that she could be

                   navigated properly and that emergency authorities could be contacted at any

                   time if necessary;



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     k. Failed to properly crew Dali with an appropriate and trained crew;

     l. Failed to implement appropriate safety policies and procedures to ensure a

        seaworthy vessel;

     m. Failed to properly maintain the vessel;

     n. Failed to conduct appropriate planning to ensure Dali was equipped to complete

        the planned voyage;

     o. Failed to properly contact emergency authorities;

     p. Failed to institute appropriate training procedures;

     q. Negligently retained the crewmembers, Master, managing agent, and

        superintendent of the vessel;

     r. Failed to sound an aural bell or alarm, or otherwise alert those on the Key Bridge

        of Dali’s imminent impact;

     s. Failed to ensure a properly functioning bow thruster prior to and during the

        voyage;

     t. Knowingly and recklessly placed Decedent’s life in danger by deliberately

        attempting to navigate with a defective electrical system;

     u. Knowingly and recklessly placed Decedent’s life in danger by deliberately

        attempting to navigate with a vessel that was known to suffer from excessive

        vibration, resulting in alteration and damage to components, including electrical

        components;

     v. Failed to institute proper training, procedures, risk assessments, and safety

        management systems;

     w. Failed to properly equip the vessel;



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              x. Violated applicable regulations and laws;

              y. Violated applicable industry standards, customs and practices;

              z. Failed to properly manage and plan the voyage;

              aa. Negligently and recklessly planned and conducted the voyage with an

                  unseaworthy vessel in other ways to be proven in the course of discovery at

                  trial.

       59.    As a result of these reckless, negligent acts and omissions, Decedent Maynor Yasir

Suazo Sandoval was killed.

       60.    Claimants therefore seek all available damages under applicable law, including but

not limited to compensation for:

              a. The pain, suffering and emotional distress of Decedent;

              b. The pre-impact fear of Decedent;

              c. The post-impact fear of Decedent;

              d. Decedent’s fear of impending death and drowning;

              e. Past and future emotional distress of Decedent’s survivors;

              f. Past and future medical expenses;

              g. Past and future economic losses;

              h. Hedonic damages;

              i. Loss of enjoyment of life;

              j. Loss of society and consortium;

              k. The value of personal property lost in the voyage;

              l. Punitive damages;

              m. Loss of inheritance;



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               n. Loss of services;

               o. Funeral and burial expenses;

               p. Loss of care, guidance, nurture, and counsel;

               q. Costs of suit and Attorneys’ fees;

               r. All other damages available under applicable law.

       61.     To the extent that any of the above remedies are not available under general

maritime law, Claimants seek all available supplemental remedies under applicable state law.

                            COUNT TWO: WRONGUL DEATH,
                        AS AGAINST SYNERGY MARINE PTE LTD

       62.     Claimants incorporate the foregoing paragraphs.

       63.     At all relevant times, as the technical manager of the Dali and her crew, Petitioner

Synergy Marine PTE LTD owed Claimants a duty to ensure that the voyage on March 26, 2024,

was adequately planned and executed, that the Dali was seaworthy and appropriately equipped for

the voyage, that all on board the Dali had sufficient training, equipment and provisions to complete

the voyage successfully and that the vessel had appropriate safety management systems and risk

assessments to avoid injury to others.

       64.     Petitioner Synergy Marine PTE LTD breached these aforesaid duties in that, among

other things, Petitioner, its agents and employees, including the Master, crew members, agents,

superintendents and executives:

               a. Conducted a voyage with an unseaworthy vessel;

               b. Failed to navigate the vessel properly;

               c. Knowingly departed with a defective electrical system;

               d. Failed to properly operate the vessel’s electrical system;

               e. Failed to properly troubleshoot and diagnose defects with the electrical system;

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     f. Failed to utilize tug vessels through the Key Bridge’s main span;

     g. Failed to slow the vessel as it approached the Key Bridge;

     h. Failed to station crew at the anchor winch during departure;

     i. Failed to divert Dali’s route of travel when its engine lost power;

     j. Failed to equip Dali with appropriate equipment to ensure that she could be

        navigated properly and that emergency authorities could be contacted at any

        time if necessary;

     k. Failed to properly crew Dali with an appropriate and trained crew;

     l. Failed to implement appropriate safety policies and procedures to ensure a

        seaworthy vessel;

     m. Failed to properly maintain the vessel;

     n. Failed to conduct appropriate planning to ensure Dali was equipped to complete

        the planned voyage;

     a. Failed to properly contact emergency authorities;

     b. Failed to institute appropriate training procedures;

     c. Negligently retained the crewmembers, Master, managing agent, and

        superintendent of the vessel;

     d. Failed to sound an aural bell or alarm, or otherwise alert those on the Key Bridge

        of Dali’s imminent impact;

     e. Failed to ensure a properly functioning bow thruster prior to and during the

        voyage;

     f. Knowingly and recklessly placed Decedent’s life in danger by deliberately

        attempting to navigate with a defective electrical system;



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              g. Knowingly and recklessly placed Decedent’s life in danger by deliberately

                  attempting to navigate with a vessel that was known to suffer from excessive

                  vibration, resulting in alteration and damage to components, including electrical

                  components;

              h. Failed to institute proper training, procedures, risk assessments, and safety

                  management systems;

              i. Failed to properly equip the vessel;

              j. Violated applicable regulations and laws;

              k. Violated applicable industry standards, customs and practices;

              l. Failed to properly manage and plan the voyage;

              m. Negligently and recklessly planned and conducted the voyage with an

                  unseaworthy vessel in other ways to be proven in the course of discovery at

                  trial.

       65.    As a result of these reckless, negligent acts and omissions, Decedent Maynor Yasir

Suazo Sandoval was killed.

       66.    Claimants therefore seek all available damages under applicable law, including but

not limited to compensation for:

              a. The pain, suffering and emotion distress of Decedent;

              b. The pre-impact fear of Decedent;

              c. The post-impact fear of Decedent;

              d. Decedent’s fear of impending death and drowning;

              e. Past and future emotional distress of Decedent’s survivors;

              f. Past and future medical expenses;



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                g. Past and future economic losses;

                h. Hedonic damages;

                i. Loss of enjoyment of life;

                j. Loss of society and consortium;

                k. The value of personal property lost in the voyage;

                l. Punitive damages;

                m. Loss of inheritance;

                n. Loss of services;

                o. Funeral and burial expenses;

                p. Loss of care, guidance, nurture, and counsel;

                q. Costs of suit and Attorneys’ fees;

                r. All other damages available under applicable law.

        67.     To the extent that any of the above remedies are not available under general

maritime law, Claimants seek all available supplemental remedies under applicable state law.

                          COUNT THREE: SURVIVAL CLAIM -
                       AS AGAINST GRACE OCEAN PRIVATE LTD

        68.     Claimants incorporate the foregoing paragraphs.

        69.     As a direct and proximate result of Petitioner Grace Ocean Private LTD’s

previously described wrongful acts, Decedent Maynor Yasir Suazo Sandoval suffered damages

before his death, including extreme mental anguish, physical pain, and a profound fear for his life

prior to his death.

        70.     Claimants therefore seek all available survival damages under applicable law,

including but not limited to compensation for:

                a. The pain, suffering and emotion distress of Decedent;

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                b. The pre-impact fear of Decedent;

                c. The post-impact fear of Decedent;

                d. Decedent’s fear of impending death and drowning;

                e. Funeral and burial expenses;

                f. Estate legal and administrative costs;

                g. All other damages available under applicable law.

        71.     To the extent that any of the above remedies are not available under general

maritime law, Claimants seek all available supplemental remedies under applicable state law.

                           COUNT FOUR SURVIVAL CLAIM -
                        AS AGAINST SYNERGY MARINE PTE LTD

        72.     Claimants incorporate the foregoing paragraphs.

        73.     As a direct and proximate result of Petitioner Synergy Marine PTE LTD’s

previously described wrongful acts, Decedent Maynor Yasir Suazo Sandoval suffered damages

before his death, including extreme mental anguish, physical pain, and a profound fear for his life

prior to his death.

        74.     Claimants therefore seek all available survival damages under applicable law,

including but not limited to compensation for:

                a. The pain, suffering and emotion distress of Decedent;

                b. The pre-impact fear of Decedent;

                c. The post-impact fear of Decedent;

                d. Decedent’s fear of impending death and drowning;

                e. Funeral and burial expenses;

                f. Estate legal and administrative costs;

                g. All other damages available under applicable law.

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       75.       To the extent that any of the above remedies are not available under general

maritime law, Claimants seek all available supplemental remedies under applicable state law.

                            COUNT FIVE: PUNITIVE DAMAGES
                        AS AGAINST GRACE OCEAN PRIVATE LTD

       76.       Claimants incorporate the foregoing paragraphs.

       77.       At all relevant times, Petitioner Grace Ocean Private LTD conducted intentional,

willful, wanton, reckless, and/or grossly negligent acts and omissions, causing Claimants’ injuries

and one of the worse maritime disasters in the history of the United States. Punitive damages are

therefore appropriate to punish Petitioner Grace Ocean Private LTD and deter similar future acts

and omissions.

       78.       Petitioner Grace Ocean Private LTD should be assessed punitive damages in that,

motivated by profit, it intentionally, willfully, wantonly, grossly negligently, recklessly:

                 a. Conducted a voyage with an unseaworthy vessel;

                 b. Failed to navigate the vessel properly;

                 c. Departed with a defective electrical system;

                 d. Failed to properly operate the vessel’s electrical system;

                 e. Failed to properly troubleshoot and diagnose defects with the electrical system;

                 f. Failed to utilize tug vessels through the Key Bridge’s main span;

                 g. Failed to slow the vessel as it approached the Key Bridge;

                 h. Failed to station crew at the anchor winch during departure;

                 i. Failed to divert Dali’s route of travel when its engine lost power;

                 j. Failed to equip Dali with appropriate equipment to ensure that she could be

                    navigated properly and that emergency authorities could be contacted at any

                    time if necessary;

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     k. Failed to properly crew Dali with an appropriate and trained crew;

     l. Failed to implement appropriate safety policies and procedures to ensure a

        seaworthy vessel;

     m. Failed to properly maintain the vessel;

     n. Failed to conduct appropriate planning to ensure Dali was equipped to complete

        the planned voyage;

     o. Failed to properly contact emergency authorities;

     p. Failed to institute appropriate training procedures;

     q. Retained the crewmembers, Master, managing agent, and superintendent of the

        vessel;

     r. Failed to sound an aural bell or alarm, or otherwise alert those on the Key Bridge

        of Dali’s imminent impact;

     s. Failed to ensure a properly functioning bow thruster prior to and during the

        voyage;

     t. Placed Decedent’s life in danger by deliberately attempting to navigate with a

        defective electrical system;

     u. Placed Decedent’s life in danger by deliberately attempting to navigate with a

        vessel that was known to suffer from excessive vibration, resulting in alteration

        and damage to components, including electrical components;

     v. Failed to institute proper training, procedures, risk assessments, and safety

        management systems;

     w. Failed to properly equip the vessel;

     x. Violated applicable regulations and laws;



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                 y. Violated applicable industry standards, customs and practices;

                 z. Failed to properly manage and plan the voyage;

                 aa. Planned and conducted the voyage with an unseaworthy vessel in other ways to

                    be proven in the course of discovery at trial.

       79. As a result of the foregoing, Decedent Maynor Yasir Suazo Sandoval was killed and

             Claimants suffered damages.

       80. Claimants are therefore entitled to punitive damages.

                             COUNT SIX: PUNITIVE DAMAGES
                         AS AGAINST SYNERGY MARINE PTE LTD

       81.       Claimants incorporate the foregoing paragraphs.

       82.       At all relevant times, Petitioner Synergy Marine PTE Ltd conducted intentional,

willful, wanton, reckless, and/or grossly negligent acts and omissions, causing Claimants’ injuries

and one of the worse maritime disasters in the history of the United States. Punitive damages are

therefore appropriate to punish Petitioner Grace Ocean Private LTD and deter similar future acts

and omissions.

       83.       Petitioner Synergy Marine PTE Ltd should be assessed punitive damages in that,

motivated by profit, it intentionally, willfully, grossly, negligently, wantonly, and recklessly:

                 a. Conducted a voyage with an unseaworthy vessel;

                 b. Failed to navigate the vessel properly;

                 c. Departed with a defective electrical system;

                 d. Failed to properly operate the vessel’s electrical system;

                 e. Failed to properly troubleshoot and diagnose defects with the electrical system;

                 f. Failed to utilize tug vessels through the Key Bridge’s main span;

                 g. Failed to slow the vessel as it approached the Key Bridge;

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     h. Failed to station crew at the anchor winch during departure;

     i. Failed to divert Dali’s route of travel when its engine lost power;

     j. Failed to equip Dali with appropriate equipment to ensure that she could be

        navigated properly and that emergency authorities could be contacted at any

        time if necessary;

     k. Failed to properly crew Dali with an appropriate and trained crew;

     l. Failed to implement appropriate safety policies and procedures to ensure a

        seaworthy vessel;

     m. Failed to properly maintain the vessel;

     n. Failed to conduct appropriate planning to ensure Dali was equipped to complete

        the planned voyage;

     o. Failed to properly contact emergency authorities;

     p. Failed to institute appropriate training procedures;

     q. Retained the crewmembers, Master, managing agent, and superintendent of the

        vessel;

     r. Failed to sound an aural bell or alarm, or otherwise alert those on the Key Bridge

        of Dali’s imminent impact;

     s. Failed to ensure a properly functioning bow thruster prior to and during the

        voyage;

     t. Placed Decedent’s life in danger by deliberately attempting to navigate with a

        defective electrical system;




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                  u. Placed Decedent’s life in danger by deliberately attempting to navigate with a

                     vessel that was known to suffer from excessive vibration, resulting in alteration

                     and damage to components, including electrical components;

                  v. Failed to institute proper training, procedures, risk assessments, and safety

                     management systems;

                  w. Failed to properly equip the vessel;

                  x. Violated applicable regulations and laws;

                  y. Violated applicable industry standards, customs and practices;

                  z. Failed to properly manage and plan the voyage;

       84.        Planned and conducted the voyage with an unseaworthy vessel in other ways to be

proven in the course of discovery at trial. As a result of the foregoing, Decedent was killed and

Claimants suffered damages.

       85. Claimants are therefore entitled to punitive damages.

                                          JURY DEMAND

       86. Claimants demand a trial by jury.

                                      PRAYER FOR RELIEF

       87.        Claimants request damages far in excess of the value of the vessel, in an amount to

be determined by the finder of fact for all available damages under applicable law, including but

not limited to:

                  a. The pain, suffering and emotion distress of Decedent;

                  b. The pre-impact fear of Decedent;

                  c. The post-impact fear of Decedent;

                  d. Decedent’s fear of impending death and drowning;



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     e. Past and future emotional distress of Decedent’s survivors;

     f. Past and future medical expenses;

     g. Past and future economic losses;

     h. Hedonic damages;

     i. Loss of enjoyment of life;

     j. Loss of society and consortium;

     k. The value of personal property lost in the voyage;

     l. Punitive damages;

     m. Loss of inheritance;

     n. Loss of services;

     o. Funeral and burial expenses;

     p. Estate legal and administrative costs;

     q. Loss of care, guidance, nurture, and counsel;

     r. Costs of suit and Attorneys’ fees;

     s. All other damages available under applicable law.




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                                    *Application for admission pro hac vice
                                    forthcoming




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                                CERTIFICATE OF SERVICE

       In compliance with Supplemental Federal Rule F(5), I HEREBY CERTIFY that on this

20th day of September, 2024, I electronically filed the foregoing pleading with the Clerk of Court

by using the CM/ECF system which will send a notice of electronic filing to all counsel who are

CM/ECF participants.


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